Case 2:24-cv-00585-MWF-AS Document 1 Filed 01/22/24 Page 1 of 11 Page ID #:1




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8
                           UNITED STATES DISTRICT COURT
9
                         CENTRAL DISTRICT OF CALIFORNIA
10

11
     FOR LOVE & LEMONS, LLC, a California Case No.:
     Corporation,
12                                               COMPLAINT FOR:
13   Plaintiff,
                                                 1. COPYRIGHT
14   v.                                             INFRINGEMENT
15                                               2. VICARIOUS AND/OR
     ZOETOP BUSINESS CO., LTD.,                     CONTRIBUTORY
16   individually and doing business as “SHEIN”,    COPYRIGHT
17   a Hong Kong private limited company;           INFRINGEMENT
     SHEIN DISTRIBUTION CORP., a Delaware 3. VIOLATIONS OF THE
18   corporation; ROADGET BUSINESS PTE,             DIGITAL MILLENNIUM
19   LTD., a Singapore private limited company,     COPYRIGHT ACT (17 U.S.C.
     both individually and doing business as        § 1202)
20   “SHEIN”; and DOES 1-10,
21
     Defendants.                                 JURY TRIAL DEMANDED
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                                         COMPLAINT
Case 2:24-cv-00585-MWF-AS Document 1 Filed 01/22/24 Page 2 of 11 Page ID #:2




1              Plaintiff, FOR LOVE AND LEMONS, LLC (“Love and Lemons” or
2    “Plaintiff”), by and through its undersigned attorneys, complains and alleges against
3    Defendants as follows:
4                                     NATURE OF ACTION
5        1.      Plaintiff seeks injunctive relief and damages stemming from Defendants’,
6    ZOETOP BUSINESS CO., LTD., individually and doing business as SHEIN
7    (“ZOETOP”); SHEIN DISTRIBUTION CORP., (“SHEIN”); ROADGET
8    BUSINESS PTE, LTD. (“ROADGET”); and DOES 1-10 (collectively
9    “Defendants”), acts of copyright infringement in violation of the laws of the United
10   States of America.
11                                JURISDICTION AND VENUE
12       2.      This action arises under the Copyright Act of 1976, Title 117 U.S.C. § 101,
13   et seq.
14       3.      This Court has federal question jurisdiction under 28 U.S.C. §§ 1331 and
15   1338 (a) and (b).
16       4.      The Court has personal jurisdiction over Defendants and each of them
17   because Defendants have purposefully directed their unlawful conduct to this judicial
18   district and have conducted substantial business in this judicial district.
19       5.      Venue is proper under 28 U.S.C. § 1391(c) and 1400(a) because a
20   substantial part of the acts and omissions giving rise to the claims occurred here.
21   Venue and personal jurisdiction may also be appropriate under Fed. R. Civ. P.
22   4(k)(2).
23                                            PARTIES
24       6.       Plaintiff is an LLC with its principal place of business in California.
25       7.       Upon information and belief, Defendant ZOETOP BUSINESS CO., LTD.,
26   individually and doing business as SHEIN (“ZOETOP”) is a Hong Kong private
27   limited company that is doing business with the State of California.
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                                               COMPLAINT
Case 2:24-cv-00585-MWF-AS Document 1 Filed 01/22/24 Page 3 of 11 Page ID #:3




1        8.    Upon information and belief, Defendant SHEIN DISTRIBUTION CORP.
2    (“SHEIN”) is a Delaware corporation registered to do business with the State of
3    California.
4        9.    Plaintiff is informed and believes and thereon alleges that Defendant
5    ROADGET BUSINESS PTE, LTD. (“ROADGET”), individually and doing business
6    as “SHEIN” and “EMORY ROSE”, is a Singapore wholesale trade company with its
7    principal place of business located at 7 Temasek Boulevard, #12-08, Suntec Tower
8    One, Singapore, 038987 and is doing business with the State of California.
9        10. Plaintiff is informed and believes and thereon alleges that Defendant
10   ROADGET BUSINESS PTE, LTD. owns and operates “SHEIN,” “shein.com,”
11   “Emory Rose,” and “emoryrose.com”
12       11.   Plaintiff is informed and believes and thereon alleges that Defendants
13   DOES 1 through 10, inclusive, are other parties not yet identified who have infringed
14   Plaintiff’s copyrights, have contributed to the infringement of Plaintiff’s copyrights,
15   or have engaged in one or more of the wrongful practices alleged herein. The true
16   names, whether corporate, individual or otherwise, of Defendants 1 through 10,
17   inclusive, are presently unknown to Plaintiff, which therefore sues said Defendants
18   by such fictitious names, and will seek leave to amend this Complaint to show their
19   true names and capacities when same have been ascertained.
20       12.   Plaintiff is informed and believes and thereon alleges that at all times
21   relevant hereto each of the Defendants was the agent, affiliate, officer, director,
22   manager, principal, alter-ego, and/or employee of the remaining Defendants and was
23   at all times acting within the scope of such agency, affiliation, alter-ego relationship
24   and/or employment; and actively participated in or subsequently ratified and/or
25   adopted each of the acts or conduct alleged, with full knowledge of all the facts and
26   circumstances, including, but not limited to, full knowledge of each violation of
27   Plaintiff’s rights and the damages to Plaintiff proximately caused thereby.
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                                             COMPLAINT
Case 2:24-cv-00585-MWF-AS Document 1 Filed 01/22/24 Page 4 of 11 Page ID #:4




1                                FACTUAL BACKGROUND
2        13. Love and Lemons is a leading designer known for its unique, eye-catching
3    and colorful prints, designs and garments. Love and Lemons has differentiated itself
4    from other brands operating within the same industry due in large part to its own
5    creation, marketing, and sales of products featuring its distinctive designs and display
6    of these products on various platforms.
7        14. ZOETOP founded in 2008 as a fast fashion company and became
8    successful for offering and distributing products at extremely low prices, and for
9    rapidly producing products meeting the latest trends. SHEIN was incorporated in
10   2021 in Delaware. Defendants’ ability to quickly offer products at such unexpensive
11   price is principally due to Defendants’ unethical business practices that have
12   increasingly been exposed and publicized by diverse media outlets (see, e.g.,
13   https://www.wsj.com/articles/chinas-fast-fashion-giant-shein-faces-dozens-of-
14   lawsuits-alleging-design-theft-11656840601;
15   https://www.dazeddigital.com/fashion/article/55146/1/shein-fast-fashion-
16   exploitation-plagiarism-independent-designers-copy-aliexpress;
17   https://www.wired.com/story/fast-cheap-out-of-control-inside-rise-of-shein/1) and
18   consist of intentionally infringing the original work of other designers and
19   companies, such as Love and Lemons, and benefit from their work with total
20   disregard to U.S. Law.
21       15. Defendants have continuously and repeatedly violated Love and Lemons’s
22   rights through the manufacture, promotion, distribution and sale in interstate
23   commerce of products bearing designs, prints, graphics, shapes, and other original
24

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     1 This article’s author asserts that they obtained an “October guidance document
26
     about copyright violation” in which the SheIn legal team stated: “‘It appears that our
27   suppliers are searching the internet, including Instagram and Etsy, and copying other
     people’s works[.]’” while also urging its own designers to find original works on the
28
     internet and to modify the work enough so as to make it “no longer recognizable.”
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                                            COMPLAINT
Case 2:24-cv-00585-MWF-AS Document 1 Filed 01/22/24 Page 5 of 11 Page ID #:5




1    artwork that are identical or substantially similar to Love and Lemons’s copyrighted
2    designs
3        16. Plaintiff served a cease-and-desist demand on Shein prior to the filing of
4    this action. Shein failed to meaningfully respond and/or reasonably resolve the
5    matter.
6                    CLAIMS RELATED TO PLAINTIFF’S DESIGNS
7        17. Plaintiff exclusively owns the copyrights for certain original two-
8    dimensional artworks (the “Subject Designs”) that have been registered with the
9    United States Copyright Office, with all formalities satisfied. True and correct images
10   of the Subject Designs are depicted in Exhibit A attached hereto. One or more of
11   those designs was created by Liz Casella, who transferred all copyrights and related
12   claims as to those designs to Plaintiff.
13       18. Prior to the acts complained of herein, Plaintiff sold garments bearing the
14   Subject Designs on its website and in the marketplace and made them widely
15   available to the market.
16       19. Plaintiff has not authorized Defendants to copy, reproduce, duplicate,
17   disseminate, distribute, or create derivative works of the Subject Designs.
18       20. Plaintiff is informed and believes and thereon alleges that following its
19   distribution of the Subject Designs, ZOETOP, SHEIN, ROADGET, DOE
20   Defendants, and each of them created, sold, manufactured, caused to be
21   manufactured, imported and/or distributed fabric and/or garments bearing
22   unauthorized reproductions of the Subject Designs or designs which are substantially
23   similar to the Subject Designs (hereinafter “Infringing Products”).
24       21. Infringing Products include but are not limited to the garments sold by
25   SHEIN that were manufactured or otherwise distributed by SHEIN/ROADGET. All
26   the foregoing acts occurred without Plaintiff’s consent.
27       22. The Subject Designs and exemplars of Defendants’ Infringing Products are
28   depicted with identifying information in Exhibit A attached hereto.

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                                                COMPLAINT
Case 2:24-cv-00585-MWF-AS Document 1 Filed 01/22/24 Page 6 of 11 Page ID #:6




1        23. Exemplars of Defendants’ Infringing Products as marketed, advertised, and
2    offered for sale online, with identifying style numbers, are depicted in Exhibit A
3    attached hereto.
4        24. Plaintiff is informed and believes and thereon alleges that Defendants, and
5    each of them, including ZOETOP and SHEIN/ROADGET, continued to offer for sale
6    products bearing the Subject Designs at issue after receiving from Plaintiff notice(s)
7    of infringement related to said designs.
8                               FIRST CLAIM FOR RELIEF
9              (For Copyright Infringement – Against All Defendants, and Each)
10       25. Plaintiff repeats, realleges, and incorporates herein by reference as though
11   fully set forth, the allegations contained in the preceding paragraphs of this
12   Complaint.
13       26. Plaintiff is informed and believes and thereon alleges that Defendants, and
14   each of them, including ZOETOP and SHEIN/ROADGET, had access to the Subject
15   Designs, including, without limitation, through (a) access to Plaintiff’s showroom
16   and/or design library; (b) access to illegally distributed copies of the Subject Designs
17   by third-party vendors and/or DOE Defendants, including without limitation
18   international and/or overseas converters and printing mills; (c) access to Plaintiff’s
19   strike-offs and samples, and (d) access to garments in the marketplace manufactured
20   with lawfully printed fabric bearing the Subject Designs.
21       27.   Plaintiff is informed and believes and thereon alleges that one or more of
22   the Defendants manufactures garments and/or is a garment vendor. Plaintiff is
23   further informed and believes and thereon alleges that said Defendant(s), and each of
24   them, including ZOETOP and SHEIN/ROADGET, has an ongoing business
25   relationship with Defendant retailers, and each of them, including ZOETOP and
26   SHEIN/ROADGET, and supplied garments to said retailers, which garments
27   infringed the Subject Designs in that said garments were composed of fabric that
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                                            COMPLAINT
Case 2:24-cv-00585-MWF-AS Document 1 Filed 01/22/24 Page 7 of 11 Page ID #:7




1    featured unauthorized print designs that were identical or substantially similar to the
2    Subject Designs, or were an illegal modification thereof.
3       28.   Plaintiff is informed and believes and thereon alleges that Defendants, and
4    each of them, including ZOETOP and SHEIN/ROADGET, infringed Plaintiff’s
5    copyright by creating, making and/or developing directly infringing and/or
6    derivative works from the Subject Designs and by producing, distributing and/or
7    selling Infringing Products through a nationwide network of retail stores, catalogues,
8    and through on-line websites.
9       29.   Due to Defendants’, and each of their, acts of infringement, Plaintiff has
10      suffered damages in an amount to be established at trial.
11      30.   Due to Defendants’, and each of their, acts of copyright infringement as
12   alleged herein, Defendants, and each of them, including ZOETOP and
13   SHEIN/ROADGET, have obtained profits they would not otherwise have realized
14   but for their infringement of the Subject Designs. As such, Plaintiff is entitled to
15   disgorgement of Defendants’, and each of their, profits attributable to the
16   infringement of the Subject Designs in an amount to be established at trial.
17      31.    Plaintiff is informed and believes and thereon alleges that Defendants, and
18   each of them, including ZOETOP and SHEIN/ROADGET, have committed acts of
19   copyright infringement, as alleged above, which were willful, intentional, and
20   malicious, which further subjects Defendants, and each of them, including ZOETOP
21   and SHEIN/ROADGET, to liability for statutory damages under Section 504(c)(2)
22   of the Copyright Act in the sum of up to one hundred fifty thousand dollars
23   ($150,000) per infringement. Within the time permitted by law, Plaintiff will make
24   its election between actual damages and statutory damages.
25                            SECOND CLAIM FOR RELIEF
26        (For Vicarious and/or Contributory Copyright Infringement - Against All
27                                        Defendants)
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                                            COMPLAINT
Case 2:24-cv-00585-MWF-AS Document 1 Filed 01/22/24 Page 8 of 11 Page ID #:8




1        32. Plaintiff repeats, realleges, and incorporates herein by reference as though
2    fully set forth, the allegations contained in the preceding paragraphs of this
3    Complaint.
4        33. Plaintiff is informed and believes and thereon alleges that Defendants
5    knowingly induced, participated in, aided and abetted in and profited from the illegal
6    reproduction and/or subsequent sales of garments featuring the Subject Designs
7    alleged herein.
8        34. Plaintiff is informed and believes and thereon alleges that ZOETOP
9    knowingly included, participated in, aided and abetted in and profited from the
10   illegal reproduction and/or subsequent sales of garments featuring the Subject
11   Designs alleged herein by SHEIN/ROADGET, and vice versa. ZOETOP is
12   responsible for the SHEIN/ROADGET’s allegedly infringing conduct described in
13   this Second Amended Complaint, and vice versa.
14       35. Plaintiff is informed and believes and thereon alleges that each of the
15   Defendants is vicariously liable for the infringement alleged herein of one another
16   because they had the right and ability to supervise the infringing conduct and
17   because they had a direct financial interest in the infringing conduct.
18       36. By reason of the Defendants’, and each of their, acts of contributory and
19   vicarious infringement as alleged above, Plaintiff has suffered and will continue to
20   suffer substantial damages to its business in an amount to be established at trial, as
21   well as additional general and special damages in an amount to be established at
22   trial.
23       37. Due to Defendants’, and each of their acts of copyright infringement as
24   alleged herein, Defendants, and each of them, including ZOETOP and
25   SHEIN/ROADGET, have obtained direct and indirect profits they would not
26   otherwise have realized but for their infringement of the Subject Designs.
27   Specifically, ZOETOP has obtained direct and indirect profits through
28   SHEIN/ROADGET’s infringement of the Subject Designs, and vice versa. As such,

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                                            COMPLAINT
Case 2:24-cv-00585-MWF-AS Document 1 Filed 01/22/24 Page 9 of 11 Page ID #:9




1    Plaintiff is entitled to disgorgement of Defendants’ profits directly and indirectly
2    attributable to Defendants’ infringement of Plaintiff’s rights in the Subject Designs,
3    in an amount to be established at trial.
4       38. Plaintiff is informed and believes and thereon alleges that Defendants, and
5    each of them, including ZOETOP and SHEIN/ROADGET, have committed acts of
6    copyright infringement, as alleged above, which were willful, intentional and
7    malicious, which further subjects Defendants, and each of them, including ZOETOP
8    and SHEIN, to liability Plaintiff is informed and believes and thereon alleges that
9    Defendants, and each of them, including ZOETOP and SHEIN/ROADGET, have
10   committed acts of copyright infringement, as alleged above, which were willful,
11   intentional and malicious, which further subjects Defendants, and each of them,
12   including ZOETOP and SHEIN/ROADGET, to liability for statutory damages under
13   Section 504(c)(2) of the Copyright Act in the sum of up to one hundred fifty
14   thousand dollars ($150,000.00) per infringement. Within the time permitted by law,
15   Plaintiff will make its election between actual damages and statutory damages.
16                             THIRD CLAIM FOR RELIEF
17       (For Violations of the 17 U.S.C. §1202 – Against all Defendants, and Each)
18      39.    Plaintiff repeats, re-alleges, and incorporates herein by reference as though
19   fully set forth, the allegations contained in the preceding paragraphs.
20      40.    The Subject Designs were routinely published with attribution, credit, and
21   other copyright management information identifying Plaintiff as the author. Love
22   and Lemons’s products and website include copyright management information for
23   its designs that reflects its ownership and creation of said designs. Furthermore,
24   Love and Lemons includes its brand name on its tags and products, including those
25   at issue herein.
26      41.      Plaintiff alleges on information and belief that Defendants, and each of
27   them, including ZOETOP and SHEIN/ROADGET, removed Plaintiff’s copyright
28   management information, as described above, from the Subject Designs, and/or

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                                            COMPLAINT
Case 2:24-cv-00585-MWF-AS Document 1 Filed 01/22/24 Page 10 of 11 Page ID #:10




  1   added false copyright management information to the Subject Designs, before
  2   distributing and publishing same to the public. On information and belief it is
  3   alleged that Defendants removed Love and Lemons’s copyright management
  4   information from the Subject Designs and products bearing same.
  5      42.      On information and belief, Plaintiff alleges that Defendants’ websites
  6   attribute the Subject Designs to Shein, including, without limitation, in the name of
  7   certain products and on its tags. Defendants do not indicate in any way that the
  8   Subject Designs should be attributed to Plaintiff. Any attribution and case
  9   management information accompanying Defendant’s infringing products falsely
 10   designates Defendants as the source and owner of the Subject Designs.
 11      43.      Plaintiff alleges on information and belief that Defendants, and each of
 12   them, including ZOETOP and SHEIN/ROADGET, distributed, published, and
 13   displayed the Subject Designs via, inter alia, the websites they operate, under its own
 14   name, and removing Plaintiff’s attribution information, including without limitation
 15   its name, copyright notices, and/or metadata.
 16      44.       The aforementioned facts constitute “copyright management
 17   information” as that phrase is defined in 17 U.S.C. §1202(c) and said information on
 18   and in the Infringing Content is false.
 19      45.      When Defendants distributed and published the Subject Designs, they
 20   knowingly provided and/or distributed false copyright management information in
 21   violation of 17 U.S.C. §1202(a). As a result of the foregoing, Plaintiff has been
 22   damaged and may recover those damages as well as Defendants’ profits, and/or
 23   statutory damages, and attorneys’ fees under 17 U.S.C. §1203.
 24                                 PRAYER FOR RELIEF
 25        Wherefore, Plaintiff prays for judgment as follows:
 26            a. That Defendants—each of them—and their respective agents and
 27               servants be enjoined from importing, manufacturing, distributing,
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                                                COMPLAINT
Case 2:24-cv-00585-MWF-AS Document 1 Filed 01/22/24 Page 11 of 11 Page ID #:11




  1               offering for sale, selling or otherwise trafficking in any product that
  2               infringes Plaintiff’s copyrights in the Subject Designs;
  3            b. That Plaintiff be awarded all profits of Defendants, and each of them,
  4               plus all losses of Plaintiff, the exact sum to be proven at the time of trial,
  5               or, if elected before final judgment, statutory damages as available under
  6               the Copyright Act, 17 U.S.C. § 505, 1203;
  7            c. That Plaintiff be awarded its attorneys’ fees as available under the
  8               Copyright Act U.S.C. § 505, 1203;
  9            d. That Plaintiff be awarded pre-judgment interest as allowed by law;
 10            e. That Plaintiff be awarded the costs of this action; and
 11            f. That Plaintiff be awarded such further legal and equitable relief as the
 12               Court deems proper.
 13                                     JURY DEMAND
 14         Plaintiff demands a jury trial on all issues so triable pursuant to Fed. R. Civ. P.
 15   38 and the 7th Amendment to the United States Constitution.
 16
      Dated: January 22, 2024                               Respectfully submitted,
 17

 18
                                                      By:   ____________________
 19                                                         Scott Alan Burroughs, Esq.
                                                            Frank R. Trechsel, Esq.
 20
                                                            DONIGER / BURROUGHS
 21                                                         Attorneys for Plaintiff
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                                             COMPLAINT
